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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                  SHERMAN DIVISION

 UNITED STATES OF AMERICA                         §
                                                  §
 v.                                               §    CRIMINAL NO. 4:07CR58.3
                                                  §
 KEVIN DWAYNE THORNE                              §

                            REPORT AND RECOMMENDATION
                         OF UNITED STATES MAGISTRATE JUDGE

        Pending before the Court is the request for revocation of Defendant’s supervised release.

 After the District Court referred the matter to this Court for a report and recommendation, the Court

 conducted a hearing on April 26, 2012, to determine whether Defendant violated his supervised

 release. Defendant was represented by James Whalen. The Government was represented by James

 Peacock.

        On April 7, 2008, Defendant was sentenced by the Honorable Richard A. Schell, United

 States District Judge, to a sentence of 30 months imprisonment followed by a 5-year term of

 supervised release, for the offense of conspiracy to possess with intent to distribute cocaine and

 cocaine base. Defendant began his term of supervision on October 13, 2009.

        On January 12, 2012, the U.S. Probation Officer filed a Petition for Warrant or Summons for

 Offender Under Supervision (the “Petition”) (Dkt. 439). The Petition asserts that Defendant violated

 the following conditions of supervision: (1) Defendant shall not commit another federal, state, or

 local crime; (2) Defendant shall not illegally possess a controlled substance; (3) Defendant shall

 refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer




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 any narcotic or other controlled substance, or any paraphernalia related to any controlled substances,

 except as prescribed by a physician.

        The Petition alleges that Defendant committed the following violations: (1) As previously

 reported to the Court on November 12, 2010, Defendant was arrested by Garland Police Department,

 Garland, TX for VHSC - possession marijuana 4oz-5lbs, a state jail felony. He was released on a

 $5,000 surety bond; (2) On December 1, 2011, the Dallas County 363rd Judicial District Court

 issued a warrant for Insufficient Bond, and the defendant was arrested by the Plano Police

 Department in the U.S. Probation Office on December 29, 2011; and (3) During the arrest, it was

 discovered the defendant had a baggie of marijuana in his right front pants pocket and $500. When

 patting Defendant dhow, the Plano Police Officer felt a hard object in the crouch area of the

 defendant’s pants. Defendant indicated it was a urine tampering device. He was transported to City

 of Plano jail. At the jail, it was discovered that Defendant had an additional 19 baggies of marijuana

 of the same size hidden in the crouch of his pants and did not have a urine tamper device. He is

 currently being held in Collin County Jail for possession of marijuana - <2 oz. - a Class B

 Misdemeanor. A $500 bond has been set.

        At the hearing, Defendant entered a plea of true to the alleged violations. Defendant waived

 his right to allocute before the district judge and his right to object to the report and recommendation

 of this Court. The Court finds that Defendant has violated the terms of his supervised release and

 that his supervised release should be revoked.




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                                        RECOMMENDATION

.           Pursuant to the Sentencing Reform Act of 1984 and having considered the arguments

     presented at the April 26, 2012, hearing, the Court recommends that Defendant be committed

     to the custody of the Bureau of Prisons to be imprisoned for a term of eight (8) months, with no

     supervised release to follow.

            SIGNED this 11th day of May, 2012.

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                                                  ____________________________________
                                                  DON D. BUSH
                                                  UNITED STATES MAGISTRATE JUDGE




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